71 F.3d 723
    In re GRAND JURY PROCEEDINGS.Roland MORA, Witness-Appellant,v.UNITED STATES of America, Appellee.
    Nos. 95-56436, 95-56439.
    United States Court of Appeals,Ninth Circuit.
    Submitted to Motions Panel.Decided Nov. 6, 1995.
    
      Carlton F. Gunn, Federal Public Defender, Los Angeles, California, for Appellant.
      Ronni B. MacLaren, Assistant United States Attorney, Los Angeles, California, for Appellee.
      Appeal from the United States District Court for the Central District of California.
      Before:  PREGERSON, GOODWIN and REINHARDT, Circuit Judges.
    
    
      1
      The court dismisses appeal no. 95-56436 for lack of jurisdiction.  In re Grand Jury Subpoenas Dated Dec. 10, 1987, 926 F.2d 847, 852-53 (9th Cir.1991).
    
    
      2
      In appeal no. 95-56439, the court follows the Second Circuit's decision in In re Grand Jury Subpoenas Duces Tecum Dated June 13, 1983 and June 22, 1983, 722 F.2d 981 (2d Cir.1983), and holds that the collective entity rule does not apply to a former employee of a collective entity who is no longer acting on behalf of the collective entity.  The case is remanded to the district court for further proceedings consistent with this order.
    
    
      3
      The district court's order staying Mora's incarceration shall remain in effect until the matter is resolved by the district court.
    
    